                                                                    Case 4:15-cv-02075-JSW Document 83 Filed 02/28/19 Page 1 of 5



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                                                                  1049 Market Street, LLC
                                                             6
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                                                             8                              UNITED STATES DISTRICT COURT
                                                             9                          NORTHERN DISTRICT OF CALIFORNIA
                                                             10                                  OAKLAND DIVISION
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                                                             11   1049 MARKET STREET, LLC, a California    Case Number: 4:15-cv-02075-JSW
                          235 MONTGOMERY STREET, SUITE 400
                           SAN FRANCISCO, CALIFORNIA 94104




                                                             12   Limited Liability Company,
                                                                                                           JOINT CASE UPDATE
                                                             13           Plaintiffs,
                                                             14           vs.
                                                             15
                                                                  CITY AND COUNTY OF SAN
                                                             16   FRANCISCO, BOARD OF SUPERVISORS
                                                                  OF THE CITY AND COUNTY OF SAN
                                                             17   FRANCISCO, PLANNING DEPARTMENT
                                                             18   OF THE CITY AND COUNTY OF SAN
                                                                  FRANCISCO, SAN FRANCISCO
                                                             19   DEPARTMENT OF BUILDING
                                                                  INSPECTION, SAN FRANCISCO
                                                             20   BUILDING INSPECTION COMMISSION,
                                                             21   SAN FRANCISCO BOARD OF APPEALS,
                                                                  and DOES 1-50,
                                                             22
                                                                          Defendants.
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                                                                  4:15-cv-02075-JSW
                                                                  Joint Case Update
                                                                                                            -1-
                                                                    Case 4:15-cv-02075-JSW Document 83 Filed 02/28/19 Page 2 of 5




                                                             1            Pursuant to this Court’s Order, dated November 7, 2016, the parties jointly submit this
                                                             2    update as to the progress of the related State Court Actions, 1049 Market Street, LLC v. City and
                                                             3    County of San Francisco, et al., Case No.CGC-15-545950 (the “First Writ Petition”) and 1049
                                                             4    Market Street, LLC v. City and County of San Francisco, et al., Case No.CGC-15-547161 (the
                                                             5    “First Damages Action”).
                                                             6
                                                                          In the First Writ Petition, the Court issued an order on April 12, 2016, granting the Writ
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                                                                  of Administrative Mandamus, in part; denying the Writ of Mandate; and disposing of several
                                                             8
                                                                  evidentiary motions. On May 2, 2016, Plaintiff filed a motion for reconsideration and notice of
                                                             9
                                                                  intention to file a motion for a new trial. On June 13, 2016, the Court granted the motion for a
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                                                                  new trial in part and denied the motion for reconsideration. Also on June 13, 2016, the Court
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                          235 MONTGOMERY STREET, SUITE 400
                           SAN FRANCISCO, CALIFORNIA 94104




                                                                  issued an amended order, granting the Writ of Administrative Mandamus, in part and denying
                                                             12
                                                                  the Writ of Mandate. On June 7, 2016, and July 8, 2016, Plaintiff appealed the First Writ Petition
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                                                                  in the California Court of Appeal, First District, Case No. A148716.
                                                             14
                                                             15           In the First Damages Action, the City filed a motion for judgment on the pleadings

                                                             16   (MJOP), which was heard on March 30, 2017. Plaintiff filed a motion for leave to file a first

                                                             17   amended and supplemental complaint (FASC), which was also heard on March 30, 2017. On

                                                             18   April 4, 2017, the Court granted in part and denied in part the City’s MJOP, and granted

                                                             19   Plaintiff’s motion for leave to file a FASC. On April 13, 2017, Plaintiff filed its FASC. On May
                                                             20   12, 2017, the City filed an answer to the FASC. On May 15, 2017, the City filed a petition for
                                                             21   writ of mandate in the California Court of Appeal, First District, in Case No. A151274,
                                                             22   challenging the portion of the trial court’s order denying its MJOP. On May 25, 2017, Plaintiff
                                                             23   filed a preliminary opposition to the petition for writ of mandate. On June 15, 2017, the First
                                                             24   District Court of Appeal issued a “suggestive Palma notice” (Brown, Winfield & Canzoneri, Inc.
                                                             25
                                                                  v. Superior Court (2010) 47 Cal.4th 1233) with regards the Court’s order on the MJOP. On
                                                             26
                                                                  August 2, 2017, in response to the suggestive Palma notice, the Court vacated its previous order
                                                             27
                                                                  denying the MJOP in the First Damages Action and granted the MJOP in a new order.
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                                                                  4:15-cv-02075-JSW
                                                                  Joint Case Update
                                                                                                                      -2-
                                                                    Case 4:15-cv-02075-JSW Document 83 Filed 02/28/19 Page 3 of 5




                                                             1            On May 23, 2016, Plaintiff filed another writ petition in State Court against the City in
                                                             2    1049 Market Street, LLC v. City and County of San Francisco, et al., case no. CPF-16-515046
                                                             3    (“Second Writ Petition”), challenging the City’s enactment of ordinances nos. 23-16 and 33-16
                                                             4    (the “Permanent Controls”). On July 11, 2017, the Court denied Plaintiff’s CEQA and facial
                                                             5    challenges in the Second Writ Petition, and held that Plaintiff’s as-applied takings claim and as-
                                                             6
                                                                  applied Ellis Act claim were unripe for review. Plaintiff appealed this order, which is now
                                                             7
                                                                  pending in the First District Court of Appeal, Case No. A151993.
                                                             8
                                                                          On June 30, 2017, Plaintiff filed a third writ petition against the City in State Court, Case
                                                             9
                                                                  No. CPF-17-515754 (“Third Writ Petition”), challenging the revocation of its permit pursuant to
                                                             10
                                                                  the Permanent Controls. Plaintiff also simultaneously filed a second action for damages against
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                          235 MONTGOMERY STREET, SUITE 400




                                                                  the City in State Court, Case No. CGC-17-559890 (“Second Damages Action”) for inverse
                           SAN FRANCISCO, CALIFORNIA 94104




                                                             12
                                                                  condemnation and violation of its civil rights. On July 5, 2017, Plaintiff filed notices of related
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                                                                  cases in the First Damages Action, the Second Damages Action, and the Third Writ Petition.
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                                                                          On August 30, 2017, and again on November 7, 2017, the parties entered into a stipulated
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                                                                  hiatus of litigation.
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                                                                          In January of 2018, after the hiatus had lifted, Plaintiff moved for a continuance of the
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                                                                  trial date in the First Damages Action and consolidation of the Second Damages Action with the
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                                                                  First Damages Action (“Consolidated Damages Action”). Both motions were granted, and the
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                                                                  Consolidated Damages Action was set for trial on November 5, 2018.
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                                                                          On January 24, 2018, the Appellate Court dismissed the CEQA claim in the First Writ
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                                                                  Petition as moot and held the following as to the remaining claims:
                                                             22
                                                             23           As to the remaining claims, we affirm the trial court's judgment although we do
                                                                          not adopt all of its reasoning. Specifically, we conclude 1049 Market's taking
                                                             24
                                                                          claims as to the initial suspension and delay are barred for failure to exhaust
                                                             25           administrative remedies. And to the extent 1049 Market's taking claims are
                                                                          based on the City's later conduct, those claims are not ripe. We additionally
                                                             26           conclude there is no merit to 1049 Market's vested right claim.
                                                             27           Plaintiff then filed a motion to stay the Consolidated Damages Action in an effort to ripen
                                                             28   its takings claim. The City filed a motion for judgment on the pleadings in the Consolidated

                                                                  4:15-cv-02075-JSW
                                                                  Joint Case Update
                                                                                                                       -3-
                                                                    Case 4:15-cv-02075-JSW Document 83 Filed 02/28/19 Page 4 of 5




                                                             1    Damages Action based on the Appellate Court’s suggestive Palma Notice and its decision in the
                                                             2    First Writ Petition.
                                                             3            After these filings, the parties engaged in settlement discussions and took these motions
                                                             4    off calendar, without prejudice. The parties are still presently in settlement discussions, which
                                                             5    are expected to be finalized shortly, and litigation has been put on hold.
                                                             6
                                                             7    Respectfully submitted,
                                                             8
                                                                  Dated: February 28, 2019                     ZACKS, FREEDMAN & PATTERSON, PC
                                                             9
                                                             10                                                   /s/ Emily L. Brough
ZACKS, FREEDMAN& PATTERSON, PC




                                                             11                                                EMILY L. BROUGH
                          235 MONTGOMERY STREET, SUITE 400




                                                                                                               Counsel for Plaintiff
                           SAN FRANCISCO, CALIFORNIA 94104




                                                             12                                                1049 MARKET STREET, LLC.
                                                             13
                                                             14
                                                             15
                                                                  Dated: February 28, 2019                     DENNIS J. HERRERA
                                                             16                                                City Attorney
                                                             17                                                KRISTEN A. JENSEN
                                                                                                               Deputy City Attorney
                                                             18
                                                             19                                                By: /s/ Kristen A. Jensen
                                                             20                                                KRISTEN A. JENSEN
                                                                                                               Counsel for Defendant
                                                             21                                                City and County of San Francisco
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                                                                  4:15-cv-02075-JSW
                                                                  Joint Case Update
                                                                                                                     -4-
                                                                    Case 4:15-cv-02075-JSW Document 83 Filed 02/28/19 Page 5 of 5



                                                                                               CERTIFICATION OF SERVICE
                                                             1
                                                             2            The undersigned hereby certifies that on February 28, 2019, all counsel of record who
                                                             3
                                                                  are deemed to have consented to electronic service are being served with a copy of this
                                                             4
                                                                  document via the Court’s CM/ECF system.
                                                             5
                                                             6            By: /s/ Emily L. Brough
                                                                                 EMILY L. BROUGH
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                                                                  4:15-cv-02075-JSW
                                                                  Joint Case Update
                                                                                                                    -5-
